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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

(NORTHERN DIVISION)
UNITED STATES OF AMERICA *
Vv. * Criminal No.: DLB-21-0399
ROY MCGRATH . *
* # * * # * *

DEFENDANT’S UNOPPOSED REQUEST FOR
MODIFICATION OF CONDITIONS OF RELEASE

Now comes the defendant, Roy McGrath, by and through undersigned counsel, and
respectfully requests that the Conditions of Release imposed in the above-captioned matter be
modified to strike the provision set forth in condition (1) “undergo medical or psychiatric
treatment as directed by Pretrial Services”, and in support thereof states the following:

1. Pursuant to this Court’s Order of October 22, 2021, the Court imposed conditions
of release that included that the defendant undergo medical or psychiatric treatment as directed
by Pretrial Services.

2. Mr. McGrath has no history of any mental disorders or mental health treatment.

3. Pursuant to the Court’s Order any request for modification of the conditions of
release must be submitted to the Court.

4. The defendant is in complete compliance with the conditions of release, and the
conditions of release have not been modified during the period of his supervision.

5. Mr. McGrath, who is a resident of Florida is being supervised by Pretrial Services
in the Middle District of Florida. Pursuant to that district’s policy Mr. McGrath, regardless of no

history of mental disorder or mental health treatment, will be required to obtain a psychiatric
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of mental disorder or mental health treatment, will be required to obtain a psychiatric evaluation unless
that condition is removed from the Order Setting Conditions of Release.

6. Joyce McDonald, Assistant Untied States Attorney, has been advised by undersigned
counsel of this request and has indicated that the government does not oppose the request. Kimberly
Barrett, United States Pretrial Officer, has been notified of the request and has indicated that she does
not oppose the termination of the requirement that Mr. McGrath undergo medical or psychiatric
treatment.

7. If the Court grants the defendant’s request Mr. McGrath continue to be subject to the
instruction and direction provided to him by Pretrial Services, as well as being subject to all other
existing conditions of release.

WHEREFORE, the defendant respectfully requests that this Honorable Court modify the
conditions of release and terminate condition (L) requiring that Mr. McGrath undergo medical or
psychiatric treatment as directed by Pretrial Services.

Respectfully submitted,

/s/
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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on this 16" day of January, 2023 a copy of the
foregoing Defendant’s Request for Modification of Conditions of Release was filed via ECF
and thereby served on Joyce McDonald, Assistant United States Attorney, Office of
the United States Attorney for the District of Maryland, 36 S, Charles Street, 4" Floor, Baltimore,

Maryland 21201 (Joyce.McDonald@usdo].gov)

 

/s/
Joseph Martha

JM10351(rev.)
